Case 4:20-cv-00236 Document 1-1 Filed on 01/22/20 in TXSD Page 1 of 54




                    EXHIBIT “A”
Office of Harris County District Clerk - Marilyn Burgess                      https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?...
                       Case 4:20-cv-00236 Document 1-1 Filed on 01/22/20 in TXSD Page 2 of 54

          HCDistrictclerk.com              DURHAM, TERRENCE M vs. INFINITI FINANCIAL                                        1/22/2020
                                           SERVICES
                                           Cause: 201989179 CDI: 7    Court: 333

          APPEALS
          No Appeals found.

          COST STATMENTS
          No Cost Statments found.

          TRANSFERS
          No Transfers found.

          POST TRIAL WRITS
          No Post Trial Writs found.

          ABSTRACTS
          No Abstracts found.

          SUMMARY
           CASE DETAILS                                                    CURRENT PRESIDING JUDGE
           File Date                       12/19/2019                      Court             333rd
           Case (Cause) Location           Civil Intake 1st Floor          Address           201 CAROLINE (Floor: 14)
                                                                                             HOUSTON, TX 77002
           Case (Cause) Status             Active - Civil
                                                                                             Phone:7133686470
           Case (Cause) Type               SWORN ACCOUNT
                                                                           JudgeName         DARYL L. MOORE
           Next/Last Setting Date          N/A
                                                                           Court Type        Civil
           Jury Fee Paid Date              N/A



          ACTIVE PARTIES
          Name                                                  Type                                             Post Attorney
                                                                                                                 Jdgm
          DURHAM, TERRENCE M                                    PLAINTIFF - CIVIL                                       LIGON,
                                                                                                                        ANDRE
                                                                                                                        LEWIS
          INFINITI FINANCIAL SERVICES                           DEFENDANT - CIVIL                                       DANNER,
                                                                                                                        RICHARD
                                                                                                                        DWAYNE
          NISSAN MOTOR ACCEPTANCE CORPORATION                   DEFENDANT - CIVIL                                       DANNER,
                                                                                                                        RICHARD
                                                                                                                        DWAYNE
          NISSAN-INFINITI LT                                    DEFENDANT - CIVIL                                       DANNER,
                                                                                                                        RICHARD
                                                                                                                        DWAYNE
          INFINITY FINANCIAL SERVICES (CORPORATION) REGISTERED AGENT
          NISSAN-INFINITI LT (CORPORATION)                      REGISTERED AGENT
          NISSAN MOTOR ACCEPTANCE CORPORATION                   REGISTERED AGENT




1 of 3                                                                                                                           1/22/2020, 10:22 AM
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                       Case 4:20-cv-00236 Document 1-1 Filed on 01/22/20 in TXSD Page 3 of 54
          INACTIVE PARTIES
          No inactive parties found.

          JUDGMENT/EVENTS
          Date  Description                                Order        Post Pgs Volume Filing                 Person
                                                           Signed       Jdgm     /Page Attorney                Filing
          1/10/2020    ANSWER ORIGINAL PETITION                              0            DANNER, RICHARD INFINITI FINANCIAL
                                                                                          DWAYNE          SERVICES
          1/10/2020    ANSWER ORIGINAL PETITION                              0            DANNER, RICHARD NISSAN-INFINITI LT
                                                                                          DWAYNE
          1/10/2020    ANSWER ORIGINAL PETITION                              0            DANNER, RICHARD NISSAN MOTOR
                                                                                          DWAYNE          ACCEPTANCE
                                                                                                          CORPORATION
          12/20/2019   ORDER SIGNED GRANTING               12/20/2019        3
                       TEMPORARY RESTRAINING
                       ORDER
          12/20/2019   MOTION FOR TEMPORARY                                  0
                       RESTRAINING ORDER GRANTED
          12/20/2019   ORDER SIGNED SETTING                12/20/2019        3
                       HEARING
          12/20/2019   ORDER SETTING BOND SIGNED           12/20/2019        3
          12/20/2019   APPEARANCE ON TEMPORARY                               0
                       INJ OR TEMPORARY
                       RESTRAINING ORD
          12/19/2019   ORIGINAL PETITION                                     0            LIGON, ANDRE         DURHAM, TERRENCE
                                                                                          LEWIS                M



          SETTINGS
          Date   Court Post Docket Type                    Reason                    Results Comments              Requesting
                       Jdgm                                                                                        Party
          1/06/2020     333           Law Day Docket       TEMPORARY INJUNCTION Passed
          09:30 AM



          SERVICES
          Type   Status            Instrument Person             Requested Issued Served Returned Received Tracking Deliver
                                                                                                                    To
          CITATION  SERVICE    ORIGINAL         INFINITY      12/19/2019     12/19/2019                              73707070   E-MAIL
          CORPORATE ISSUED/IN PETITION          FINANCIAL
                    POSSESSION                  SERVICES
                    OF SERVING                  (CORPORATION)
                    AGENCY
                211 E 7TH STREET SUITE 620 AUSTIN TX 78701

          CITATION  SERVICE    ORIGINAL         NISSAN-       12/19/2019     12/19/2019                              73707073   E-MAIL
          CORPORATE ISSUED/IN PETITION          INFINITI LT
                    POSSESSION                  (CORPORATION)
                    OF SERVING
                    AGENCY
                211 E 7TH STREET SUITE 620 AUSTIN TX 78701

          CITATION  SERVICE    ORIGINAL         NISSAN MOTOR 12/19/2019      12/19/2019                              73707076   E-MAIL
          CORPORATE ISSUED/IN PETITION          ACCEPTANCE
                    POSSESSION                  CORPORATION
                    OF SERVING
                    AGENCY




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                           Case 4:20-cv-00236 Document 1-1 Filed on 01/22/20 in TXSD Page 4 of 54
                  211 E 7TH STREET SUITE 620 AUSTIN TX 78701



          Notices
          Notice Date Activity Date Description                          Connection           Name                    Address                Phone
                                                                         To Case
                            12/20/2019                                   0                    LIGON, ANDRE LEWIS 2646 S LOOP WES,            713-662-2500
          12/24/2019
                                                                                                                 HOUSTON, TX 77054



          DOCUMENTS
          Number              Document                                                                                   Post Date                Pgs
                                                                                                                         Jdgm
          88893600            Citation Corporate                                                                                01/13/2020        2
          88893601            Citation Corporate                                                                                01/13/2020        2
          88879677            Defendants Answer and Affirm Defenses                                                             01/10/2020        3
          88757286            Plaintiff's Motion to Extend Temporary Restraining Order                                          01/03/2020        5
          88757299            Proposed Order                                                                                    01/03/2020        2
          88653215            Clerk's certificate of cash deposit in lieu of injunction bond per order of the court             12/23/2019        1
          88639679            ORDER SETTING BOND SIGNED                                                                         12/20/2019       3
                              ORDER SIGNED GRANTING TEMPORARY RESTRAINING ORDER                                                 12/20/2019
                              ORDER SIGNED SETTING HEARING                                                                      12/20/2019
          88613697            PLAINTIFF'S ORIGINAL PETITION                                                                     12/19/2019        8
           ·>   88613707      AFFIDAVIT OF TERRENCE DURHAM                                                                      12/19/2019       4
           ·>   88613698      EXHIBIT 01                                                                                        12/19/2019        6
           ·>   88613699      EXHIBIT 02                                                                                        12/19/2019        2
           ·>   88613700      EXHIBIT 03                                                                                        12/19/2019        7
           ·>   88613701      EXHIBIT 04                                                                                        12/19/2019        2
           ·>   88613702      Plaintiffs application for temporary restraining order                                            12/19/2019        8
           ·>   88613704      REQUEST FOR ISSUANCE OF SERVICE                                                                   12/19/2019        1
           ·>   88613705      REQUEST FOR ISSUANCE OF SERVICE                                                                   12/19/2019        1
           ·>   88613706      REQUEST FOR ISSUANCE OF SERVICE                                                                   12/19/2019        1
           ·>   88613703      TRO                                                                                               12/19/2019        3




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     Case 4:20-cv-00236 Document 1-1 Filed on 01/22/20 in TXSD Page 52 of 54                               1/10/2020 3:16 PM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 39866916
                                                                                                     By: MARCELLA WILES
                                                                                                    Filed: 1/10/2020 3:16 PM

                                        Cause No. 2019-89179

TERRANCE M. DURHAM,                                    §        IN THE DISTRICT COURT
                                                       §
        Plaintiff,                                     §
                                                       §
v.                                                     §
                                                       §        HARRIS COUNTY, TEXAS
INFINITI FINANCIAL SERVICES,                           §
NISSAN-INFINITI LT. and NISSAN                         §
MOTOR ACCEPTANCE                                       §
CORPORATION,                                           §
                                                       §
        Defendants.                                    §        333RD JUDICIAL DISTRICT

            DEFENDANTS’ ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

        Defendants Infiniti Financial Services (“IFS”), Nissan-Infiniti LT (“NILT”) and Nissan

Motor Acceptance Corporation (“NMAC”) (collectively, “Defendants”) file their Original

Answer and Affirmative Defenses to Plaintiff’s Original Petition filed by Plaintiff, Terrance M.

Durham (“Plaintiff”).

                                         I. GENERAL DENIAL

        1.       Defendants, pursuant to Rule 92 of the Texas Rules of Civil Procedure, generally

deny all of the claims as alleged by Plaintiff, and respectfully pray that Plaintiff be required to

prove his claims as alleged by a preponderance of the evidence or such higher standard as may

be applicable.

                                    II. AFFIRMATIVE DEFENSES

        2.       Some or all of Plaintiff’s claims are barred by failure of consideration.

        3.       Plaintiff’s claims are barred, in whole or in part, because Defendants’ conduct

was not the producing, nor the proximate, cause of Plaintiffs’ alleged losses, damages, and/or

injuries.




DEFENDANTS’ ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES                                         Page 1 of 3
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        4.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff is unable to

prove his alleged losses, damages, and/or injuries in accordance with Texas law.

        5.      Some or all of Plaintiff’s claims are barred due to unclean hands.

        6.      Some or all of Plaintiff’s claims are barred by his failure to perform his own

contractual obligations.

        7.      Plaintiff’s claims fail due to the doctrines of estoppel and/or quasi estoppel.

        8.      Defendants are entitled to an offset of any damages awarded under the doctrine of

recoupment and offset.

        9.      Plaintiff has failed to state a claim upon which relief may be granted.

        10.     Defendants are equitably and contractually subrogated as to all of the claims

contained in Plaintiff’s suit.

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff takes nothing

on his claims, and for such other and further relief to which Defendants may be entitled.

                                                 Respectfully submitted,

                                                 By: /s/ R. Dwayne Danner
                                                         R. Dwayne Danner
                                                         State Bar No. 00792443
                                                         ddanner@mcglinchey.com
                                                         Aaron B. Gottlieb
                                                         State Bar No. 24069815
                                                         agottlieb@mcglinchey.com
                                                         McGlinchey Stafford, PLLC
                                                         Three Energy Square
                                                         6688 North Central Expressway, Suite 400
                                                         Dallas, Texas 75206
                                                         (214) 445-2445 Tel.
                                                         (214) 445-2450 Fax.

                                                 ATTORNEYS FOR DEFENDANTS




DEFENDANTS’ ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES                                      Page 2 of 3
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 10, 2020, a copy of the above and foregoing was filed
electronically with the Clerk of Court. Notice of this filing has been forwarded to all parties, by
and through their attorneys of record by operation of the Court’s electronic filing system or,
alternatively, as indicated below.

                                           Andre L. Ligon
                                      Texas Bar No. 00797840
                                   Email: efilings@andreligon.com
                                   Law Offices Andre L. Ligon, P.C.
                                   2646 South Loop West, Ste. 380
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